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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :   Chapter 11
    In re                                               :
                                                        :   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1                         :   (Jointly Administered)
                                                        :
                                      Debtors.          :   Hearing Date: October 19, 2023, at 10:00 a.m.
                                                        :
                                                            Objection Deadline: September 27, 2023
                                                        :
                                                            Re: D.I. 2508


    UNITED STATES TRUSTEE’S OBJECTION TO SECOND JOINT MOTION OF THE
    DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
       AN ORDER AUTHORIZING THE MOVANTS TO REDACT OR WITHHOLD
            CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS


            Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

Trustee”), through his undersigned counsel, files this omnibus objection (the “Objection”) to the

Second Joint Motion of the Debtors and the Official Committee of Unsecured Creditors for an

Order Authorizing the Movants to Redact or Withhold Certain Confidential Information of

Customers [D.I. 2508] (the “Second Joint Motion”) and respectfully states:

                                 I.       PRELIMINARY STATEMENT

            1.     Since the commencement of these cases in November, 2022, the names, addresses

and email addresses of all of the Debtors’ customers, whether natural persons or entities, have

been sealed in nearly all Court filings. The most recent Order in which the Court authorized



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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
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such sealing, entered on June 15, 2023, gave the Debtors and the Committee the ability to file

under seal for a 90 day period the names, addresses and email addresses of their customers,

whether natural persons or entities, in all Court filings in which disclosure would indicate the

status of such person or entity as a customer, pursuant to section 107(b)(1) of the Bankruptcy

Code. 2 By the Second Joint Motion, the Debtors and the Committee seek to extend the period of

time for which they can file such information under seal for an additional 90 days. If granted,

such information would be sealed for a period that extends more than a year after these cases

were filed.

         2.     The U.S. Trustee opposes the Second Joint Motion for the reasons set forth in the

U.S. Trustee’s Objection to the Motion of the Debtors for Entry of Interim and Final Orders (I)

Authorizing the Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a

Separate Matrix for Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain

Confidential Information of Customers and Personal Information of Individuals and (III)

Granting Certain Related Relief [D.I. 200] and the Supplement to the United States Trustee’s

Objection to the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the

Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for

Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential

Information of Customers and Personal Information of Individuals and (III) Granting Certain

Related Relief [D.I. 362], and the United States Trustee’s Omnibus Objection to the (A) Joint

Motion of the Debtors and the Official Committee of Unsecured Creditors for an Order

Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers



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    That Order also granted, on a permanent basis under section 107(c)(1), the right of the Debtors and
    the Committee to seal the names of customers who are natural persons. See D.I. 1643, ¶ 4.


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and Personal Information of Individuals and (B) the Ad Hoc Committee of Non-US Customers of

FTX.Com’s Motion to File Under Seal (I) the Verified Statement of Eversheds Sutherland (US)

LLP and Morris Nichols, Arsht & Tunnell LLP Pursuant to Bankruptcy Rule 2019 and (II) the

Supporting Declaration [D.I. 1467] (the “U.S. Trustee’s Omnibus Objection,” and collectively

with the other objections, the “Prior Objections”). Attached hereto as Exhibit 1 is the U.S.

Trustee’s Omnibus Objection, which in turn attaches the two other Prior Objections as Exhibits

A and B thereto. All three of the Prior Objections are incorporated herein in full.

        3.        By this Objection, the U.S. Trustee also sets forth certain additional arguments

detailed below.

        4.     For the reasons set forth in the U.S. Trustee’s Prior Objections, and those set forth

below, the Motion should be denied.

                       II.    JURISDICTION, VENUE AND STANDING

       4.      Pursuant to (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

       5.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

       6.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

Objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.),




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33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under

11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                                III.     FACTUAL BACKGROUND

         7.     On November 11, 2022, the Debtors filed voluntary chapter 11 petitions in this

Court.

         8.     The Debtors continue to operate their business(es) as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

         9.     The U.S. Trustee appointed an official committee of unsecured creditors on

December 15, 2022.

         10.    On November 19, 2022, the Debtors filed the Motion of Debtors for Entry of

Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of

Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors

to Redact or Withhold Certain Confidential Information of Customers and Personal Information

of Individuals and (III) Granting Certain Related Relief [D.I. 45] (the “Original Motion”),

seeking both interim and final relief.

         11.    A hearing on the interim relief sought in the Original Motion took place at the

“first day” hearing on November 22, 2022. On November 23, 2022, the Court entered an order

granting interim relief on the Motion (the “Interim Order”) and set the hearing to consider

approval of final relief for December 16, 2022. D.I. 157.

         12.    On December 12, 2022, the U.S. Trustee filed his objection to the Original

Motion. See D.I. 200, attached as Ex. A to the U.S. Trustee’s Omnibus Objection, which is

Exhibit 1 hereto.

         13.    On January 1, 2023, the U.S. Trustee filed his supplement to the objection to the



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Original Motion. See D.I. 362, attached as Ex. B to the U.S. Trustee’s Omnibus Objection,

which is Exhibit 1 hereto. That supplement addressed redactions of (a) the names of parties on

the parties in interest list attached to any retention application, and (b) the names of any parties in

interest with whom a professional has a connection or otherwise makes a disclosure.

       14.     A hearing on the final relief sought by the Original Motion took place on January

11, 2023. On January 20, 2023, the Court entered the Final Order (I) Authorizing the Debtors to

Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each

Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of

Customers and Personal Information of Individuals on a Final Basis and (III) Granting Certain

Related Relief (the “Original Order”). D.I. 545. The Original Order included authorization for

the Debtors to redact from all public filings the following:

               (a)      addresses and e-mail addresses of their creditors and equity holders who

       are natural persons on a permanent basis; 3

               (b)      names, addresses and e-mail addresses of their customers, including those

       customers who are not natural persons, until the “Redaction Deadline,” defined to expire

       on April 20, 2023; and

               (c)      names, addresses and e-mail addresses of any creditors or equity holders

       who are natural persons and who are protected by the GDPR, until the Redaction

       Deadline.

See Original Order, ¶¶ 4-6.

       15.     On April 20, 2023, which was 90 days after the Court entered the Original Order,

the Debtors and the Committee filed the Joint Motion of the Debtors and the Official Committee


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       The U.S. Trustee did not object to that relief.


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of Unsecured Creditors for an Order Authorizing the Movants to Redact or Withhold Certain

Confidential Information of Customers and Personal Information of Individuals [D.I. 1324] (the

“First Joint Motion”).

        16.     On May 9, 2023, the U.S. Trustee filed the U.S. Trustee’s Omnibus Objection to

the First Joint Motion, as well as to the Ad Hoc Committee of Non-US Customers of FTX.Com’s

Motion to File Under Seal (I) the Verified Statement of Eversheds Sutherland (US) LLP and

Morris Nichols, Arsht & Tunnell LLP Pursuant to Bankruptcy Rule 2019 and (II) the Supporting

Declaration [D.I. 1137](the “Ad Hoc Committee’s Motion”). 4

        17.     The Court held an evidentiary hearing on the First Joint Motion on June 8, 2023

and June 9, 2023.

        18.     On June 15, 2023, the Court entered the Order Authorizing the Movants to

Redact or Withhold Certain Confidential Information of Customers and Personal Information of

Individuals [D.I. 1643] (the “First Extension Order”), which granted the First Joint Motion in

part, and denied it in part:

                (a)      The Court granted the Debtors and the Committee the ability, pursuant to

        section 107(b)(1) of the Bankruptcy Code, to continue to “redact the names, addresses

        and e-mail addresses of all of the Debtors’ customers from all filings with the Court or

        made publicly available in these Chapter 11 Cases;” in “which disclosure would indicate

        the status of such person or entity as a customer,” except that “the authorization to redact

        the names of all customers, and to redact the names, addresses and e-mail addresses of

        customers who are not natural persons, is only until the date that is 90 days from the date



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    This Court denied the Ad Hoc Committee’s Motion by Order entered on July 10, 2023. See D.I.
    1858.


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       of the entry of [the First Extension] Order (such date, the “Extended Redaction

       Deadline”).” See D.I. 1643 ¶ 2 (emphasis added). The First Extension Order allowed any

       party to seek further extension of the Extended Redaction Deadline. See id., ¶ 3.

              (b)     The Court granted the Debtors and the Committee the ability, pursuant to

       § 107(c)(1), “to permanently redact the names of all customers who are natural persons

       from all filings with the Court or made publicly available in these Chapter 11 Cases in

       which disclosure would indicate such person’s status as a customer.” See id., ¶ 4.

              (c)     The Court denied that portion of the First Joint Motion that sought to

       “redact names, address and email addresses of any creditors or equity holders who are

       natural persons from any filings with the Court . . . on the basis that such persons are

       protected by the GDPR or Japan data privacy law.” See id., ¶ 5.

              (d)     The Court granted the request to authorize the Debtors’ claims and

       noticing agent the ability to “(a) suppress from the Claims Register (i) the names,

       addresses and e-mail addresses of the Debtors’ customers until the Extended Redaction

       Deadline, and (ii) the names of the Debtors’ customers who are natural persons; (b) file

       affidavits of services redacting (i) the names, addresses and e-mail addresses of the

       Debtors’ customers until the Extended Redaction Deadline, and (ii) the names of the

       Debtors’ customers who are natural persons; and (c) withhold publication of proofs of

       claim filed by customers in accordance with the terms of this Order, provided that the

       Claims and Noticing Agent shall serve the Debtors’ customers, creditors and equity

       holders at their actual addresses and e-mail addresses.” See id., ¶ 7, emphasis added.

       19.    The 90 day period set forth in paragraphs 2 and 7 of the First Extension Order was

set to expire on September 13, 2023. On that same date, the Debtors and the Committee filed

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their Second Joint Motion, seeking to extend that period for an additional 90 days. 5 Those 90

days would begin to run from the date the Court entered any order granting the Second Joint

Motion. Assuming an order granting the motion was entered immediately after the hearing on

October 19, 2023, the order would extend the period in which redactions would be permitted to

January 13, 2024.

                                        IV.    ARGUMENT

       20.     The U.S. Trustee restates and incorporates the arguments set forth in the Prior

Objections attached hereto collectively as Exhibit 1, as if fully set forth herein. However, as the

Court previously denied the request set forth in the First Joint Motion that was based on foreign

law, those portions of the Prior Objections addressing foreign law are no longer relevant. See

First Extension Order, D.I. 1643, ¶5.

       21.     In addition to the arguments set forth in the Prior Objections, the U.S. Trustee

also objects to the Second Joint Motion to the extent it seeks to redact customer information from

claims objections. It appears that the Debtors are preparing to file omnibus claims objections in

these cases. See Debtors’ Motion for Entry of an Order (I) Granting Leave from Local Rule

3007-1(f) to Permit the Filing of Substantive Omnibus Objections and (II) Granting Related

Relief, D.I. 2646. To the extent that such omnibus objections address claims held by customers,

and it can be determined from the context of the objection that the claims are held by customers,

the relief sought in the Second Joint Motion would allow the names of all such customers to be

sealed, even from the customers themselves. The Debtors need to explain how, if the relief they




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    In the Second Joint Motion, the Debtors and the Committee do not specify that they are seeking to
    extend the 90 day period with respect to paragraph 7 of the First Extension Order, relating to what
    information can be suppressed from the Claims Register. However, they do include a provision in the
    proposed order that would have such effect.

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seek in the Second Joint Motion is granted, they will provide adequate notice to customers that

the Debtors are objecting to their claims, and the grounds upon which such objections are based.

       22.     In addition to the overall objection to the relief sought by the Second Joint

Motion, the U.S. Trustee also objects to certain aspects of the proposed form of order. The

proposed form of order includes provisions -- set forth in paragraphs 4, and 6 through 9 of the

proposed order -- that appear to simply repeat provisions included in the First Extension Order.

There is no necessity to repeat such provisions, as they reflected final rulings of this Court.

Rather, the proposed order, if entered by the Court, should instead state that, other than

extending the Extended Redaction Deadline set forth in paragraphs 2 and 7 of the First Extension

Order, all provisions of the First Extension Order, as well as those of the Original Order, remain

in full force and effect. While paragraph 10 of the proposed form of order attempts to do that, it

paraphrases certain rulings from the First Extension Order inaccurately. Therefore, if the Court

determines to grant the Second Joint Motion, the U.S. Trustee requests that paragraphs 4 and 6

through 9 of the proposed order be eliminated, and what is now paragraph 10 be restated as

follows:

               Other than as to the Extended Redaction Deadline set forth in paragraphs 2
               and 7 of the First Extension Order, nothing in this Order alters of modifies any
               provision of the Original Order or the First Extension Order. Both the
               Original Order and the First Extension Order remain in full force and effect.

       23.     The U.S. Trustee leaves the movants to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, complement, supplement, augment, alter and/or

modify this Objection, file an appropriate Motion and/or conduct any and all discovery as may

be deemed necessary or as may be required and to assert such other grounds as may become

apparent upon further factual discovery.




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       WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the relief

requested by the Motion, and grant any such other and further relief that the Court deems just

and proper.


                                             Respectfully Submitted,

                                             ANDREW R. VARA,
                                             UNITED STATES TRUSTEE
                                             REGIONS 3 AND 9


Dated: September 27, 2023
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